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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                              F      AUG 2 8 2014      W

                                                                               CLERK, U.S. DISTRICT COURT
                                    Richmond Division                                RICHMOND, VA


UNITED STATES OF AMERICA


                                                   Criminal No.:   3:06cr340-9-HEH
                                                   Civil Action No.: S'• >^ ^ 0>09L
DAVID RAY ROY,

        Petitioner.



                               MEMORANDUM OPINION
        (Dismissing Fed. R. Civ. P. 60(b) Motion as Successive § 2555 Motion)

       By Memorandum Opinion and Order entered September 19, 2011, the Court

denied a motion filed by David Ray Roy under 28 U.S.C. § 2255 to vacate, set aside, or

correct his sentence (ECF Nos. 383, 384.) On March 18, 2014, the Court received a

Memorandum of Law in Support of Motion Under Federal Rule of Civil Procedure

60(b)(6) from Roy ("Mem. Supp. Rule 60(b) Motion," ECF No. 451.) As explained

below, the Rule 60(b) Motion must be treated as a successive, unauthorized 28 U.S.C. §

2255 motion.


       The Antiterrorism and Effective Death Penalty Act of 1996 restricted the

jurisdiction of the district courts to hear second or successive applications for federal

habeas corpus relief by prisoners attacking the validity of their convictions and sentences

by establishing a "gatekeeping mechanism." Felker v. Turpin, 518 U.S. 651, 657 (1996)
(citing 28 U.S.C. § 2244(b)(3)) (internal quotation marks omitted). Specifically,

"[b]efore a second or successive application permitted by this section is filed in the
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district court, the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application." 28 U.S.C. § 2244(b)(3)(A).

       The United States Court of Appeals for the Fourth Circuit has held "that district

courts must treat Rule 60(b) motions as successive collateral review applications when

failing to do so would allow the applicant to 'evade the bar against relitigation of claims

presented in a prior application or the bar against litigation of claims not presented in a

prior application.'" U.S. v. Winestock, 340 F.3d 200, 206 (4th Cir. 2003) (quoting

Calderon v. Thompson, 523 U.S. 538, 553 (1998)). Additionally, the Fourth Circuit has

provided the following guidance in distinguishing between a proper Rule 60(b) motion or

an improper successive § 2255 motion:

       [A] motion directly attacking the prisoner's conviction or sentence will
       usually amount to a successive application, while a motion seeking a
       remedy for some defect in the collateral review process will generally be
       deemed a proper motion to reconsider. Thus, a brand-new, free-standing
       allegation of constitutional error in the underlying criminal judgment will
       virtually always implicate the rules governing successive applications.
       Similarly, new legal arguments or proffers of additional evidence will
       usually signify that the prisoner is not seeking relief available under Rule
       60(b) but is instead continuing his collateral attack on his conviction or
       sentence.


Id. at 207 (internal citation omitted). Here, Roy's Rule 60(b) Motion raises challenges to

his underlying drug convictions, rather than any defects in his federal habeas

proceedings. Accordingly, the Court must treat the Rule 60(b) Motion as a successive

§ 2255 motion. The Court has not received authorization from the Fourth Circuit to file
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the present § 2255 motion. Therefore, the action will be dismissed for want of

jurisdiction.

       An appeal may not be taken from the final order in a § 2255 proceeding unless a

judge issues a certificate of appealability ("COA"). See 28 U.S.C. § 2253(c)(1)(B). A

COA will not issue unless a prisoner makes "a substantial showing of the denial of a

constitutional right." 28 U.S.C. § 2253(c)(2). This requirement is satisfied only when

"reasonable jurists could debate whether (or, for that matter, agree that) the petition
should have been resolved in a different manner or that the issues presented were

'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S.

473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)). Roy has

not satisfied this standard. Accordingly, a certificate of appealability will be denied.

        An appropriate Order shall issue.


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                                                         Henry E. Hudson
                                                         United States District Judge
Date: flttsattf 2? 20/y
Richmond, Virginia
